UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 IN THE MATTER OF THE TAX
 LIABILITIES OF:

 JOHN DOES, United States taxpayers who, at any
 time during the years ended December 31, 2014,                No. 24 Misc. 594
 through December 31, 2023, used the services of
 the Trident Trust Group, including its predecessors,          ORDER GRANTING EX PARTE
 subsidiaries, divisions, affiliates, and associates, to       PETITION FOR LEAVE TO SERVE
 establish, maintain, operate, or control any foreign          “JOHN DOE” SUMMONSES
 financial account or other foreign asset; any foreign
 corporation, company, trust, foundation or other
 legal entity; or any foreign or domestic financial
 account or other asset in the name of such foreign
 entity.


       THIS MATTER is before the Court upon the United States of America's “Ex Parte Petition

for Leave to Serve “John Doe” Summonses” (the “Petition”). Based upon a review of the Petition

and supporting documents, the Court has determined that the “John Doe” summonses to FedEx

Corporation; DHL Express (USA), Inc.; United Parcel Service, Inc.; the Federal Reserve Bank of

New York; The Clearing House Payments Company LLC; HSBC Bank USA, National

Association; The Bank of New York Mellon Corporation; Wells Fargo Bank, National

Association; Citibank, National Association; UBS AG; Bank of America, National Association;

Deutsche Bank Trust Company Americas; and Nevis Services Limited (the “Summonsed Parties”)

relate to the investigation of an ascertainable group or class of persons, that there is a reasonable

basis for believing that such group or class of persons has failed or may have failed to comply with

their obligations to file U.S. income tax returns reporting their worldwide income from all sources

and to disclose their ownership of certain foreign assets to the U.S. government pursuant to 26

U.S.C. §§ 61, 6011, 6012, 6038, 6038D, 6039F, 6046 & 6048, and 31 U.S.C. §§ 5314 & 5321,
that the information sought to be obtained from the examination of the records or testimony (and

the identities of the persons with respect to whose liability the summonses are issued) is not readily

available from other sources, and that the summonses are narrowly tailored to information that

pertains to the failure (or potential failure) of the group or class to comply with their obligations

to file U.S. income tax returns reporting their worldwide income from all sources and to disclose

their ownership of certain foreign assets to the U.S. government. It is therefore:

       ORDERED AND ADJUDGED that the Internal Revenue Service, through Senior Revenue

Agent Randy Hooczko or any other authorized officer or agent, may serve Internal Revenue

Service “John Doe” summonses upon the Summonsed Parties in substantially the form as attached

as Exhibits A through M to the Declaration of Randy Hooczko dated December 16, 2024. A copy

of this Order shall be served together with each summons.

       SO ORDERED.


 Dated: ______________
        December 23, 2024                             ___________________________________
        New York, New York                            HON. ________________________
                                                            JOHN P. CRONAN
                                                      United States District Judge




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